Case 2:04-cv-00163-WBS-GGH Document 61 Filed 04/05/07 Page 1 of 41

SAO 133 {Rev, 4/03) Bul of Costs

UNITED STATES DISTRICT COURT

Eastern District of California

Salvatto, at al, BILL OF COSTS
Vv.
Case Number: CIV S-04-0163 WBS GGH
County of Solano, et al.,

 

 

Judgment having been entered in the above entitled action on BL H200F against All Plaintiffs ,

the Clerk is requested to tax the following as costs: pee

Fees of the Clerk 0.0 ene ne eee nent eR ene ents

Fees for service of summons and subpoena ... 2... etree tne $207.12

Fees of the court reporter for all or any part of the transcript necessarily obtained for use in the case $4,139.83

Fees and disbursements for printing 2.0.0... 0 cece eee eet

Fees for witnesses (itemize on reverse side) ......... 0.20. c eee eee eee teen eee eens

Fees for exemplification and copies of papers necessarily obtained for use in the case ......-..... $815.51

Docket fees under 28 U.S.C.1923 00. cee cee center tes

Costs as shown on Mandate of Court of Appeals... 0... ce ee eee rete eee

Compensation of court-appointed experts 2.0. ee tne rete eee teeta

Compensation of interpreters and costs of special interpretation services under 28 U.S.C, 1828 .....

Other costs (please itemize) 00.06. tee nent ere eee $493.20
TOTAL $5,655.66

SPECIAL NOTE: Attach to your bill an itemization and documentation for requested costs in all categories.

 

DECLARATION

 

I declare under penalty of perjury that the foregoing costs are correct and were necessarily incurred in this action and that the services
for which fees have been charged were actually and necessarily performed. A copy of this bill was mailed today with postage
prepaidto: Jeffrey A. Fletcher

wN .
Signature of Attorney: ( jo > iN

Name of Attorney: _Yohn R. Whitefleet

 

 

 

 

For: Defendants City of Vallejo, Vallejo Police Department, Liddicoet, McCarthy, Date. 94/05/2007
Schroeder, Clark & Whi tnpife of Claiming Pany

Costs are taxed in the amount of and included in the judgment.

Marianne Matherly By:

 

Acting Clerk of Court Deputy Clerk Date
Case 2:04-cv-00163-WBS-GGH Document 61 Filed 04/05/07 Page 2 of 41

 

WITNESS FEES (See 28 U.S.C. § 1821 for statutory fees}

 

ATTENDANCE SUBSISTENCE MILEAGE TOTAL
($40 per day) 36¢/mile

NAME AND RESIDENCE Total Total Total Total Cost
Days Cost Days Cost Miles Cost Each Witness

 

$0.00

$0.00

$0.00

$0.00

$0.00

$0.00

$0.00

$0.00

$0.06

$0.00

 

 

 

 

TOTAL $0.00

 

 

 

 

 

 

 

NOTICE

Section 1924, Title 28, U.S. Code (effective September 1, 1948) provides:
“Sec. 1924. Verification of bill of costs.”

“Before any bill of costs is taxed, the party claiming any item of cost or disbursement shall attach thereto an affidavit,
made by himself or by his duly authorized attomey or agent having knowledge of the facts, that such item is correct and
has been necessarily incurred in the case and that the services for which fees have been charged were actually and
necessarily performed.”

See also Section 1920 of Title 28, which reads in part as follows:
“A bill of costs shall be filed in the case and, upon allowance, included in the judgment or decree,”

The Federai Rules of Civil Procedure contain the following provisions:
Rule 54 (d}

“Except when express provision therefor is made either in a statute of the United States or in these rules, cosis shall
be allowed as of course to the prevailing party unless the court otherwise directs, but costs against the United States, its
officers, and agencies shall be imposed only to the extent permitted by law. Costs may be taxed by the clerk on one
day’s notice. On motion served within 5 days thereafter, the action of the clerk may be reviewed by the court.”

Rule 6(e}

“Whenever a party has the right or is required to do some act or take some proceedings within a prescribed period
after the service of a notice or other paper upon him and the notice or paper is served upon him by mail, 3 days shall be
added to the prescribed period.”

Rule 58 (In Part}
“Entry of the judgment shall not be delayed for the taxing of costs.”

 

 
Case 2:04-cv-00163-WBS-GGH Document 61 Filed 04/05/07 Page 3 of 41

Salvatto, e¢ al. v. County of Solano, et al.
USDC EDCA No. CIV 8-04-0163 WBS GGH

 

 

 

 

ATTACHMENT A
Fees for service of summons and subpoena: Section 1
Date Description Cost
07/13/04 | Aaron Meltzer, DPM - Preparation of federal subpoena for records $112.12
11/15/04 Aaron Meltzer, DPM - Service of Process $95.00
TOTAL: 207,12

 

 

 

 

 

Fees of the court reporter for all or any part of the transcript necessarily obtained for use in the case:

 

 

 

 

 

 

 

 

 

 

 

Section 2

Date Description | Cost
12/07/04 | Deposition of Aaron Meltzer, D.P.M. $364.60
07/11/06 | Deposition of William Brett Clark $327.25
07/13/06 | Depositions of Jeremy Hugg & Kevin McCarthy $478.24
07/14/06 | Depositions of Thomas Liddicoet & Kelly Schroeder $336.05
07/19/06 | Deposition of Corporal John Whitney $183.10
07/25/06 | Depositions of Leslie Barden & Mary Raymos $223.62
02/21/07 | Deposition of David A. Dusenbury $1993.67
02/28/07 | Deposition of Jared Zwickey $233.30
TOTAL: 4139.83

 

 

 

 

 

00493197.WPD Page | of 3
Case 2:04-cv-00163-WBS-GGH Document 61 Filed 04/05/07 Page 4 of 41

Salvatto, et al. v. County of Solano, et al.
USDC EDCA No. CIV S-04-0163 WBS GGH

Fees for exemplification and copies of papers necessarily obtained for use in this case

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Section 3
Date Description Cost
06/25/04 | DeNecochea Inc., Audio cassette tape duplication $32.33
06/30/04 | DeNecochea Inc., CD to audio cassette tape duplication $21.55
08/26/04 | Compex Legal Services - Court Research $142.00
06/23/05 | DeNecochea Inc., Audio cassette tape duplication $32.33
10/31/05 | DeNecochea Inc., Audio cassette tape duplication $21.55
08/15/06 | DeNecochea Inc., litigation copies; audio cassette tape duplication $347.75
10/27/05 | Photocopy charges for Motion for Summary Judgment & Exhibits $90.40
to and Reply
10/31/05
12/13/06 | Photocopy charges for Motion for Sanctions and 12/14/06 $35.00
01/20/07 | Photocopy charges for Motion for Summary Judgment & Exhibits $92.60
to and Reply
03/12/07
TOTAL: 815.51
Other Costs (please itemize) Section 4
Date Description Cost
12/07/04 | Travel to/from Vallejo for Deposition of Aaron Meltzer, D.P.M. $50.40
02/21/07 | Travel to/from Long Beach for Deposition of Dusenbury $312.80
02/28/07 | Travel to/from Stockton for Deposition of Jared Zwickey $50.00
TOTAL: 413.2

 

 

 

 

 

00493197. WPD

Page 2 of 3
Case 2:04-cv-00163-WBS-GGH Document 61 Filed 04/05/07 Page 5 of 41

Salvatto, et al. v. County of Solano, et al.
USDC EDCA No. CIV 8-04-0163 WBS GGH

Other Costs (Expert Fees as allowable pursuant to 28 U.S.C. § 1821 ($40/day); See Crawford Fitting
Co. v. J.T, Gibbons Inc., 482 U.S. 437, 442 (1987) and Sea Coast Foods Inc., v. Lu-Mar Lobster and
Shrimp, Inc. 260 F.3d 1054, 1061 (9th Cir. 2001)).

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Section 5
Date Description Cost
02/21/07 David A. Dusenbury | $46.00
02/28/07 Jared Zwickey $40.00
TOTAL: 80
Section 1 207,12
Section 2 4139.83
Section 3 815.51
Section 4 413.20
Section 5 80.00
Grand Total 5655.66
GRAND TOTAL: $5655.66

00493197, WPD Page 3 of 3
Case 2:04-cv-00163-WBS-GGH Documen t61 Filed 04/05/07 Page 6 of 41

ATTACHMENT “A”
TO
BILL OF COSTS
COMPE:. g@B-WBS-GGH Document 61 Fileci@d/05umbeage 788744

Legal Services, Inc.

 

 

 

 

 

 

a , Invoice Date: 7/23/04
IRS No. XX-XXXXXXX RECEIVED
Totaj Due: $112.12
JUL 7 6 2604
Terms: NET 10 DAYS
ORTER SCOT in OK TO PAY
Account: 001996/00094625 WeIBERG PTE 5 2 £1 attige Expense
Bilto. TERENCE J. CASSIDY PR Charge F ne Remit to:
PORTER, SCOTT, WEIBERG & DELEHANT] ToGo. % P40. BOX 2738
350 UNIVERSITY AVENUE, SUITE 200 By “| <7 C-_TORRANCE, CA 90509-2738
SACRAMENTO, CA 95825 (800) 788-8831 x5724

 

 

  
   

 

 

Request #: R358016
Order Date: 07/13/04
TERENCE-—, ; .
0768-0021 SALVATTO Y/CITY
WB
Case: SATEACHEEAH G. ANDERSON SALVATTO, ET
V CITY OF VALLEJO, ET AL.,
Record Subject:
LATEACHEEAH ANDERSON SALVATTO

  
   
    

   

00101 AARON MELTZER, DPM
PREPARE FEDERAL SUBPOENA FOR RECORDS

Basic Charge 22.00
Page Count 154 0.25 37.75
Field Trips 1 11.00 17.00
Phone Calis & Statuses 2.60
Subpoena Preparation 1 8.50 8.50
Notice to Oppesing Counsel 1 2.50 2.50
Delivery/Postage 1 3.00 3.00
Witness Fee Check Amount 15.00
Check Fee 2.50
Sub) Total: 104.85

Sales Tax: 7.27

Sub] Total: 112.12

Total Due: 1712.12

 

 

 

 

   

 

 

 

 

 

 

 

 

invoice Number: 5088744 Date. 7/23/04 Page: 1

 

Please include invoice number on payment ORIGINAL COPY
ONE LE At TAG s6,2:04-cv-00163-WBS-GGH Document 61 Filed 04/05/07 Page 8 of 41

504 Redwood Blvd.,
Novato, CA 94947
£415) 491-0606

FAX: (415) 884-9954 RECEIVED
FEIN # 94-3091 764
NOV 2 2 2004
PORTER SCOTT

PORTER, SCOTT, WEIBERG, ETVAIBERG & DELEH Any
ATIN: Administrator

350 University Ave

P O Box 255428

Sacramento, CA 95865

 

 

 

 

 

 

 

INVOICENo, | NOVIS 68 2004
1693110 [0B 53S
Date: 11/15/04 _ .
Cust No. 0006040
Law Firm Contact: J. Whitefleet
Client File No.: 7682]

 
 
  

V. County of Solano

Case Short Title: a
ain A Civil Case; Notice of Taking

Documents;

   

Subp

 

Deposition
One Legal Branch: ‘SERVICE OF PROCESS
Court: District
Description: Served: Dr. Aaron Meitzer
1460 N. Camino Alto #206, Vallejo, Ca.
TODAY SERVICE OF PROCESS 75.00
SURCHARGE 20.00

a8 TO PAY
CLptfice Expense
harge File

TM) To Ca. To Pay
By oX Oe OO wane wnt
K-Q|

 

Due Date 11/30/2004 Total This Invoice $95.06

REMIT PAYMENT TO:
ONE LEGAL, INC,

504 Redwood Blvd., Suite 223
Novato, CA 94947

{415} 491-0606

a A

 

 

 

Cust. No.: 0006040
Invoice No.: 1693110
Inv, Date: 11/15/2004

 

Due Date: 41/30/2004
Total: 395.00

 

 

Terms: Net 15

 

 

 

 

PLEASE NOTE
NEW ADDRESS
ABOVE

 

 

 

cA
Case 2:04--vQOUCGETML&ASSOUIAIES 9088 of Al
Certified Deposition Notaries SERIES
1219 MARIN STREET JAN 03 2005
VALLEJO, CALIFORNIA 94590 yefSitscon
(707) 554-9970

TAX ID #XX-XXXXXXX INVOICE NUMBER: 11354-1

TO: JOHN R. WHITEFLEET, ESQ. DATE: DECEMBER 29, 2004

PORTER, SCOTT, WEIBERG
& DELEHRANT sunsecr: CGalvarro v, Romy OF
350 UNIVERSITY AVE., SUITE 200 St alii
SACRAMENTO, CA 95825 CASE #CIV S-04-0163
| WBS GGH

 

 

Reporting and transcribing deposition testimony of

AARON MELTZER, D.P.M. taken TUESDAY, DECEMBER 7, 2004
(original plus one copy).

. $364.60

OK TO PAY
£3 Cfiice Expense

   

 

 

**NOTE** INVOICES ARE DUE AND PAYABLE UPON RECEIPT. DELINQUENT ACCOUNTS

(OVER 30 DAYS OLD) ARE SUBJECT TO A FINANCE CHARGE OF 1.5% PER
MONTH.
ros ,
ore ‘ ‘ ao . ”
"Case 2:04-cv-00168-WEE CRP cDOCHUGEL Baa taeg 04/05/07 Page 10 of 41

ESQUIRE Tax ID # XX-XXXXXXX 53170 CABESO1

DEPOSITION SERVICES®# 1801 I Street, First Floor

A HOBART WEST COMPANY

 

rn Sacramento, CA 95814
TEL (800) 610-0505 FAX (916) 448-8726

 

 

 

 

 

 

 

to: INVOICE NUMBER DATE
Porter, Scott, Weiberg & Delehant ;
350 University Avenue RECEIVED 44053ESC [07/19/06
Suite 200
Sacramento, CA 95825 JUL 2 4 2006
wiER SCOTT,
ATTN : JOHN R. WHITEFLEET _WEIBERG & DELEHANT Due Upon Receipt AMOUNT DUE ENCL.
YOUR REFERENCE NUMBER: |
SEP i £4 a
i TION: ‘f ~ £4 TG
CAP SALVATTO VS. CITY OF VALLEJO 006 i
j Ry
SERVICES PROVIDED ON 07/11/06: oct =:
WILLIAM BRETT CLARK 1- 110° 4110 PGS @ $2.18 239.80 1c¢c
SHIPPING & HANDLING 26.25

 

CONDENSED TRANSCRIPT 7 35.90
ASCII DISK Ez, 25.00

B&W EXHIBITS 2@ $0.60 1.20

OK TO PAY

 

 

 

 

 

 

C] Office Expense
f" Charge File
C1 To Co. ye Pay
By.d
BALANCE DUE TOTAL 327.25 | Thank You
Any amounts not paid within 36 days of the invoice will be considered past :
due and a late charge will accrue on any unpaid balance at the lesser of For Invoice Quest ions,
one and one-half percent (1.5%) per month or the maximum rate allowed by law. Please Call
Contact us immediately with questions or corrections regarding billing or payment. {800} 640-0505
No adjustments or refunds will be made after 120 days from date of payment. Fax {916) 448-8726
Please detach and send with payment
Remit To:
Esquire Deposition Services, LLC JOR: 53170 TOT: $327.25
P.O. Box 8278295 INVOTCE #: 440S53ES5¢C
Philadelphia, PA 19182-7829 DATE: 07/19/06

Tax ID # XX-XXXXXXX

Porter, Scott, Weiberg & Delehant ——

Attn: JOHN R. WHITEFLEET —

350 University Avenue

Suite 200 ESQUIRE
Sacramento, CA 95825 DEPOSITION SERVICES#

 

A HOBART WEST COMPANY

LINKING TESTIMONY. TRADITION AND TECHNOLOGY

 
 

 

 

 

 

 

 

 

 

 

 

== ition fE vices, 5
ase 2:04-cv-00183- wiecBgpe PCHABET Bomgdleg 04/05/07 Page 11 of 41
E S QO UIRE Tax ID # XX-XXXXXXX 53171 CABESO1
DEPOSITION SERVICES# 180i I Street, on ee Floor
A HOBART WEST COMBANY Sacramento, 95814
TEL (800) 610-0565 SAX BS — B726
Yo: WE INVOICE NUMBER DATE
Porter, Scott, Weiberd & pelenantRECE
350 University Avenue 4 4 2006 44081ESC [07/21/06
Suite 200 ANG
Sacramento, CA 95825 ORTER SCOT
eRe SeaEns
ATIN JOHN R. WHITEPLEET po ____ Due Upon Receipt AMOUNT BUE ENCL.
YOUR REFERENCE NUMBER:
pr
SEP
CAPTION: . rT 4 2906
SALVATTO VS. CITY OF VALLEJO
SERVICES PROVIDED ON 07/13/06: ae,
JEREMY HUGG 1- 101 101 PGS @ $2.18 220.18, 1cc
KEVIN McCARTHY 1- 451 51 PGS @ $2.18 211.128) 1c¢
SHIPPING & HANDLING 26.28
CONDENSED TRANSCRIPT @® $35.90 70.00
ASCII DISK @ $25.00 50.00
B&W EXHIBITS OK TO PAY 0.60
LOttice Expense
Charge File
(1 To Ca, To Pay
By ee
Wty
BALANCE DUE TOTAL 478 .24 | Thank Yout

Any amounts not paid within 30 days of the invoice will be considered past

due and a late charge will accrue on any unpaid balance at the lesser of

one and one-half percent

Contact ue immediately with qusetions ox cervoctiona regavaing billing ov paymenc.

No adjustments or refunds will be made after 120 days from date of payment.

Please detach and send with payment

Esquire Deposition Services, LLC
P.O. Box 827829
Philadeiphia,PA 19182-7829

Tax ID # XX-XXXXXXX

Porter, Scott, Weiberg & Delehant
Attn: JOHN R. WHITEFPLEBT

350 University Avenue

Suite 200

Sacramento, CA 95825

(1.5%) per month or the maximum rate allowed by law.

 

 

 

For Invoice Questions,
Please Call
(@90} 610-0505
Fax (916} 448-8726

JOB: 53171 TOT: $478.24
INVOICE #: 44081ESC
DATE: 07/21/06

—_—

—_

—_———
end

ESQUIRE

GCEPOSTTION SERVICE S®

 

A HOBART WEST COMPANY

LINKING TESTIMONY, TRADITION AND TECHNOLOGY
SS 2:04-cv-00168-witechEr (Bb EitBoF

ESQUIRE Tax ID # 22-3

DEPOSITION SERVICES® 1801 I Street,

 

A HOBART WEST COMPANY

BES EEG o4/0807 Page 12 of 41

779684 53172
First Floor

Sacramento, CA $5814

TEL (800) 610-0505 FAX (916) 448-8726

To:

Porter, Scott, Weiberg & Delehant RECEIVED

350 University Avenue

BLAIDO1

 

INVOICE NUMBER

DATE

 

 

 

44101ESC |07/24/06

 

 

 

 

 

 

 

Suite 200
Sacramento, CA 95825 AUG Q 4 2006
PORTER SCOT ANT
ATTN : JOHN R. WHITEFLEET WEIBERG & DELEHAN | peceipt AMOUNT DUE ENCL.
YOUR REFERENCE NUMBER: ae
CAPTION: a
SALVATTO VS. CITY OF VALLEJO
cp SEP i 4 ong
SERVICES PROVIDED ON 07/14/0062! “ HUB
THOMAS LIDDICOET pe, d- 53 53.-PGS @ $2.18 115.54; icc
KELLY SCHROEDER ye 57 57 PGS @ $2.18 124.26) 1cc
SHIPPING & HANDLING 26.25
CONDENSED TRANSCRIPT 2 @ $35.00 70.00
OK TO PAY
Pr] Office Expense
Charge File
To Co 7p Pay
By —
768622
BALANCE DUE TOTAL 336.05 | Thank You!
Any amounts not paid within 30 days of the invoice will be considered past

 

 

 

due and a late charge will accrue on any unpaid balance at the lesser of For Invoice Q
one and one-half percent (1.5%) per month or the maximum rate allowed by law. Please
Conrace ius immediately with questions or corrections regarding billing or payment. {800} 61
No adjustments or refunds will be made after 120 days from date of payment. Fax (916)

Please detach and send with payment

uestions,
Cail
0-0505
448-8726

Remit To:

Esquire Deposition Services, LLC
P.O. Box 827829

Philadelphia, PA 19182-7829

Tax ID # XX-XXXXXXX

Porter, Scott, Weiberg & Delehant
Attn: JOHN R. WHITHFLERT

350 University Avenue

Suite 200

Sacramento, CA 95825

JOB: 53172 TOT: $336.90
INVOICE #: 44101BS5C
DATE: 07/24/06

a oes
at oe

5

ESQUIRE

DEPOSITION SER

VICE S#

 

A HOBART WEST COM

PANY

LINKING TESTIMONY, TRADITION AND TECHNOLOGY
Be
=a 2:04-cv-00163-W

 

 

t 8
(BERGREb DBOWEEET BaatuEg 04/05/07 Page 13 of 41

 

 

 

 

 

 

 

 

 

 

  

due and a late char

one and one-hali

percent
Contact us immediate: y with

No adjustments or refurne

Please detach and send with payment

 

Remit To:
Esquire Deposition Services, LLC
P.O. Bor 827829
Priiladeipthia,PA 19182-7829
Tax ID = XX-XXXXXXX
Porter, Scott, Welberg & Delehant
Attn: GJOHN RR. WHITEFLEET
350 University Avenue
Suite 200

Sacramento, CA 95825

will accrue on any unpaid balance at the lesser of
(1.5%) per month or the maximum rate allowed by law.
questions or corrections regarding billing or payment.

as will be made after 120 days from date of payment.

ESQUIRE “ae ID # XX-XXXXXXX 53599 DAISFO1
NREPOSITION SERVICES#® 1801 1 Street, First Floor
~Qobawt west company Sacramento, CA 95814
TEL (800) 610-0505 FAX (916) 448-8726
To: INVOICE NUMBER DATE
Porter, Scott, Weiberag & Delehanty
350 University Avenue ECEIVER 44203ESC (07/31/06
Suite 200
Sacramento, CA 95825 AUG 04 2006
~ 4 z yn POpy
ATTN : JOHN R. WHITEPLEET WeiBE Re 8 ET Due Upon Receipt AMOUNT DUE ENCL.
YOUR REFERENCE NUMBER: Pe .
CAPTION:
SALVATTO VS. CITY OF VALLEJO SEE
PEP T 4 20g
SERVICES PROVIDED ON 07/19/06: : .
CORPORAL JOHN WHITNEY 1- 45° ..45 PGS @ $2.18 98.10; 1cCc
SHIPPING & HANDLING 25.00
CONDENSED TRANSCRIPT 35.00
ASCIT DISk 25.00
OK TO PAY
nl Expense
Charge File
To Co. Jo Pay
By.
Ub
Le.
BALANCE DUE TOTAL 183.10 | Thank Your
Any amounts not paid within 36 days of the invoice will be considered past

 

 

 

For Invoice Questions,
Please Call
(800) 610-0505
Fax (916) 448-8726

JOB: 53599 TOT: $183.10
INVOICE #: 44203E5¢
DATE: 07/31/06

ee
we

ESQUIRE

DEPOSITION SERVICE S®

 

A HOBART WEST COMPANY

LINKING TESTIMONY, TRADITION AND TECHNOLOGY
—— 2:04-cv-00168-WBS: GU = PtH Rt Bay IEG 04/08707 Page 14 of 41
ESQUIRE Tax ID # XX-XXXXXXX 53613. BLAIDOI
DEPOSITION SERVICES® 1801 I Street, First Floor
Sacramento, CA 95814
"S3L (800) 610-0505 FAX (916) 448-8726
INVOICE NUMBER DATE

 

A HOBART WEST COMPANY

 

To:

 

Porter, Scott, Welberag & Delehant RECEIVED
350 University Av nue

Suite 200 AUG 1 4 2006

Sacramento, CA 95:25

44276ESC (08/07/06

 

 

 

 

 

PORTER SCOTT
ATIN :; JOHN R. WH-TEFPLERT *LEHANT Due Upon Receipt AMOUNT DUE ENCL.

 

YOUR REFERENCE NUMBER:

why

CAPTION; ee
~ SALVATTO vs rry OF VALLESO? 1 4 2008

S VIGES-PROVIDED CM 07/25/06:

LESLIE BARDEN 1=- 21: . 21 PGS @ $2.18 45.78) icc
MARY RAYMOS i- 38 38 PGS @ $2.18 82.84. 1c¢C
SHIPPING & HANDLIN= 25.00
CONDENSED TRANSCRI °T 2 @ $35.00 70.00
OK TO Pay
C) Office E
Charge File

[i To Co. Ig P ¥
By gS

TeB-O/

 

 

 

 

 

 

 

“ALANCE DUE TOTAL 223.62 | Thank yout
Any amounts not paid within 306 isys of the invoice will be considered past
due and a late charge will acc’ :2 on any unpaid balance at the lesser of For Invoice Questions,
one and one-half percent (1.5% sex month or the maximum rate allowed by law. Please Call
Contact us immediately with qu-s:ions or corrections regarding billing or payment. (800) 610-0505
No adjustments or refunds will ce made after 120 days from date of payment. Fax {916) 448-8726
Please detach and send with payment
Rersit To:

Esquire Depos tion Services, LLC JOB: 53613 TOT: $223.62

P.O. Box 8278.5 INVOICE #: 44276ESC

Philadelphia, \ 19182-7829 DATE: 08/67/06

Tax ID # 22-3 79684

Porter, Scott Weiberg & BDelehant

Attn: JOHN R. WHITEFLEET ==

350 Universit’. Avenue

Suite 200 ESQUIRE
Sacramento, C- 95825 DEPOSITION SERVICES#®

 

A HOBART WEST COMPANY

LINKING TESTIMONY, TRADITION AND TECHNOLOGY
Case 2:04-cv-00163- WBS- GGH Document 61 riidkodosio O 1 iG E

 

 

 

 

 

Kusar Court Reporters & Legal Services, Inc ar a Wee
Reporter Division e-mail: Depo@Kusar.com Invoice No. | Invoice Date |. JobNo.
111 W. Ocean Blvd., Suite 1200 139412 2/26/2007 1029202
Long Beach, CA 90802 (ace a
Phone:562-437-8485 Fax:562-437-8073 Job Date [Case No.

2/21/2007 CIVS040163WBSGGH

 

 

 

RECEIVED [Ga eeenine

Salvatto vs. County of Solano

John R. Whitefleet eb 8 rhea | 2

 

 

 

 

Porter, Scott, Weiberg & Delephant ree SCOT Tb) Rayment Terms:
350 University Avenue WEB nS & DELEHANT D i

Suite 200 ua ué upon receipt

Sacramento, CA 95825

 

ORIGINAL: AND 1 CERTIFIED: copy OF F TRANSCRIPT OF: HOES

 

~- 1,993.67 67

  

 

  

   

 

David A. p Dusenbury : Je pS TALS UE
2 oe - - TOTAL DUE >>> $1,993.¢ 67.
Deposit of $300 app 2 CE
| Thank you for your business. Visit ww. ‘kusar.c com nto see : :
our. new: look and the ° great s services $6 avallable to youl | : OA a
. 7 o “o Payments/Credits: poe Soe 300,00"
_ (+) Finance Charges/Debits:_ PE QL008
_— (@) New Balance: $4,693.67

 

 

 

ol D. ald it in ful i me

 

 

 

of.
£
Tax ED: XX-XXXXXXX Be _7
Please detach bottom portion and return with payment.
John R. Whitefleet Invoice No. ; 139412
Porter, Scott, Weiberg & Delephant Invoice Date > 2/26/2007
350 University Avenue
Suite 200 Total Due : $ 1,693.67
Sacramento, CA 95825
Job No. : 1029202
Remit To: Kusar Court Reporters & Legal Services, Inc BU ID : 1-RPT
Reporter Division e-mail: Depo@Kusar.com Case No. : CIVS040163\WBSGGH

111 W. Ocean Bivd., Suite 1200
Long Beach, CA 90802 Case Name =: Salvatto vs. County of Solano
 

PORTER, SCOTT, WEIBERG & DELEHANT

Sacramento, California 95825 cHEecK 1 1 6 A 4 5 ig

 

 

 

 

 

Case 2:04-cv-00163-WBS-GGH Document 61 Filed 04/05/07 Page 16 of 41

DATE DESCRIPTION INVOICE # AMOUNT DEDUCTION NET AMOUNT |
4486 KUSAR COURT REPORTERS: & “LEGAL
02/13/07 FILING FEE FOR DEPOSITION ON

02/21/07 0768 .0021 300.00 300.060

|

|

CHECK Date CONTROL NUMBER

TOTALS >

02/13/0/7 116445 Gross: 300.00 Ded: 0.00 Net: 300.00

 

 

 

 

 

(Sbank. ccs 116445

LAW OFFICES OF Sacramento, CA 95825

PORTER, SCOTT, WEIBERG & DELEHANT sozearrtet
‘A PROFESSIONAL CORPORATION
50 UNIVERSITY AVENUE - SUITE 200
. SACRAMENTO, CALIFORNIA 95825 DATE CHECK AMOUNT

02/13/07 116445 ****$300.00°

PAY
TO THE *£* THREE HUNDRED & 00/100 DOLLARS
ORDER

OF:

KUSAR COURT REPORTERS & LEGAL

111 W. OCEAN RLVD., STE. 1200 4
SERVICES, INC. -
LONG BEACH CA 90802 (bu | _

 

WLAGGGSI i b2nb226 70K 454400007504"
92/12/2887 12:48 562437aF — KUSAR PAGE @1/61

Case 2:04-cv-00163-WBS-GGH Document 61 Filed 04/05/07 Page 17 of 41

 

FACSIMILE
TRANSMITTAL

  

 

 

COURT REPORTERS & LITIGATION SUPPORT SERVICES, INC.
111 West Ocean Boulevard, Suite 1200, Long Beach, CA 90802
562.437.8485 (Office) 562.437.8073 (Facsimile)

E-MAIL: DEPO@KUSAR.COM

 

 

TO: — Cynthia FROM: . Aurora
FAX: 916-927-3706 PAGES: 1, including cover
TIME: 12:45 DATE: 02/12/07

 

RE: __ Deposit for Salvatto vs. County of Solano, scheduled 02/21/07

C) Urgent (J For Review [1 Per your request L] Please Reply 1) Please process
for payment

 

Kusar Court Reporters requires a $300 deposit with all new or out-of-state clients. This amount will be
applied to the total cost of the deposition transcript. The balance will be on a C.0.D, basis. Any
refund owed to you will be delivered with the transcript or refunded to the credit card.

If the deposition cancels after 4:00 pm on the day prior to the deposition date, a $150.00 late
cancellation fee will apply.

Please make your check payable to Kusar Court Reporters, or 'f you prefer, we do accept Visa,
MasterCard and American Express. Our Tax |.D. number is 033-0228098.

Thank you for your attention in this matter. We look forward to doing business with you.
DEPOSIT PAYMENT BY CREDIT CARD:

Cardholder's Name:

 

Signature:

 

Card #: Exp: / Code:
Credit Card Billing Address:

 

 

 
(ren eer ls)

 

 

 

WBS-GGH Document 61 Filed 04/05/07 Page 18 of 41

INVOICE

 

 

 

 

 

 

 

 

 

 

 

 

INVOICE NO. | DATE __JOB NUMBER |
California Deposition Reporters « 209-478-3377, Fax: 209-478-7054
2809 West March Lane, Stockton, CA 95207-6821 270957 03/14/2007 (O1-51393
JOB DATE REPORTER(S) | CASE NUMBER
|
02/28/2007 PEYTBI |
RECE! VE D CASE CAPTION
John R. Whitefleet
t

Porter, Scott, Weiberg & Delehant M AB 7 54 007 Saivatto vs. City of Vallejo

350 University Avenue

Suite 200 porter scory TERMS

Sacramento, CA 95825 WEIBERG & DELEHANT Due upon receipt

L. t
1 CERTIFIED COPY OF TRANSCRIPT OF:
Zared Zwickey a 185.65
EXHIBITS - 7.65
ccp 2025 Processing Fee “ 16g, OO 20,00
E-Mail Transcript 4 Zf 15.00,
UPS Charges *, 5.00
TOTAL DUB >>>>

 

AFTER 04/13/2007 PAY

OK TO PAY

C1 Office Expense
ve Charge File
“*. E} To Co. To Pay

   

|
x 0

 

 

TAX IDNO.: XX-XXXXXXX

(916) 929-1481

Please detach bottom portion and return with payment.

John R. Whitefleet

Porter, Scott, Weiberg & Deichant ~
350 University Avenue

Suite 200

Sacramento, CA 95825

Remit To: California Deposition Reporters
2509 W. March Lane
Suite 160

Stockton, CA 95207-6521

Fax (916) 927-3706

Invoice No.: 270957

Date 04/14/2007
TOTAL DUE 233.30
AFTER 4/13/2007 PAY : 256.63
Job No. G1~-51393

Case No.

Salvatto ve. City of Vallejo
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

      

 

 

 

G Case -Cv-00163- GGH Document 61 Filed 04/05/07 Page 19 INVOICE
De. ~ WN Newoch G0» SHE. RECEIVED
u , ere : DATE INVOICE #
ore € ach copy eereece. sc... JUN 4 fe and
400 Capitol Mall, Suite 690 vo 6/25/2004 24604
Sacramento, CA 95814 PORTER SCOTT,
Tel (916) 444-1414 VEIBERG & DELEHANT
Fax (916) 444-1011
BILL TO weal | YOUR BILLING REFERENCE
Porter Scott Wieberg & Delehant | $0768-0021
350 University Ave., Suite 200 | aivate v. Ci Vallejo
Sacramento, CA. 95825 seep 68 7084 CIA:
Attn: Sandra Chapman - : SALvat to
TERMS DUE DATE DELIVERY DATE
Net 10 7/5/2004 6/25/2004
QUANTITY DESCRIPTION RATE AMOUNT
2| Convert from CD to Full size Audio cassette tape 15.00 30.00T
CA Sales Tax 7.75% 2.33
OK TO PAY
| Office Expense
sxCnarge File
rio Go. To Pay
By <<)
Sauk yeu fer your Ute HBS. Total $32.33

 

 

 

Federal Tax ID No. XX-XXXXXXX

 

Please Reference Invoice No. with Payment

 

 
&

 

More than a copy service.....
400 Capitol Mall « Suite 690 »* Sacramento * California * 95814

Tel: (916) 444-1414 Fax: (916) 444-1011
e-mail: denecochea@aol.com

et

 

 

fof

 

fhY

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Order Date: Due: am ($m )RUSH
“ ~ wen ff Ch , ! we, 7h yi
Requested by: aerate) 1h! A zi LAKAI on. Tel # [Aq TE] [, ~
Firm Name: iz CANE A 2 BOTA, # of Originals
Address: og
# of Copies Poa pee
(total sets) a “fe
Client Matter # Lo De¥ OG 2. / Bill To: l—tiorfde, er
(Add? Billing InP) on ie
Saluate v- e L Valles 6
ij
JobGrade: A BC DE Quete: $
COPY INSTRUCTIONS
Do We Label/Copy ?
[~] Copy As Original (Size for Size ) Y/N
[] Tagged Originals: Copy Only [—] C2] File Folder Labels
[-"] Single Sided Copy (1:1 / 2:1) [_] L_] Redweld Labels
[_} Double Sided Copy (2:2 / 1:2) [] L_] Post-it Notes (R&R)
[} AUgsx1l [] L_] Flags (R&R)
[~] Color Originals: B/W or COLOR [_] [4 Index Tabs (Match / Copy)
[™"] RIP from Disk / Download & RIP from E-Mail [_] E1 Spines
[_] Reduce/Enlarge to: B/W or Color (—] [7] Shp Sheets
[| Oversize Copies - B/W or Color — Fold or Roll [7] EZ) Standard Language
[_] Stock: rq Blank Index Tabs
[7] Scan Docs to CD - PDF / TIF / JPEG Cy Covers
FINISHING / BATES NUMBERING / OTHER SERVICES
Originals: Copies:
[“] Re-Bind the same as prior to copying [] Bind same as Originals - Collate or Group
. [E_] Staple ] Staple
‘ fF] Clip [J Clip
[} Rubber Band [~~] Rubber Band
[] Drill: 2 Hole or 3 Hole {| Dnt: 2 Hole or 3 Hole
[] GBC Spiral or VELO or ACCO [~] GBC Spiral or VELO or ACCO
F™"] Foam Core Mount / Laminate / Pad [_] Foam Core Mount / Laminate / Pad
[] Bates Numbering - Originals [—} Bates Numbering - Copies
Starting No. : Starting No.: .
SPECIAL INSTRUCTIONS: CD / DISC /AUDIO / VIDEO - DUPLICATION:
= Audio Cassette. 60 min / 90 min
- Video Duplication: VHS / 8mm f VHS-C
= _Convert from |, fh “sto bed ie po

Burn cD f Copy Dise to Disc - CD - Zip “7/4
“Tv. Li

 
2. SVecahed . S rift.

 

Cage, 2;04-cv-00163-WBS/GGH DocumeRESTERWEI 4/05/07 Page 21 JINNVOICE

 

 

 

 

 

 

 

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

JUL 0 7 2006
u A "opy nerei DATE INVOICE #
‘More {ham @ copy servuice..... PORTER SCOTT,
400 Capitol Mall, Suite 690 WEIBERG & DELEHANT 6/30/2004 24645
Sacramento, CA 95814
Tel (916) 444-1414
Fax (916) 444-1011
BILL TO YOUR BILLING REFERENCE
Porter Scott Wieberg & Delehant oF:
350 University Ave., Suite 200
Sacramento, CA. 95825 ™
Attn: Sandra Chapman
TERMS DUE DATE DELIVERY DATE
Net 10 7/10/2004 6/30/2004
QUANTITY DESCRIPTION RATE AMOUNT
2|CD to Audio cassette tape. Sep Ge 7008 10.00 20.007
CA Sales Tax _— ~ 7.75% 1.55
OK TO PAY
[ Office Expense
harge File
Cl To Co. To Pay
Bye
J Henke yen fer your bit ess. Total $21.55

 

 

 

Federal Tax [D No, XX-XXXXXXX

 

Piease Reference Invoice No. with Payment

 

 

 
Case 2:04-cv- 60163- WBS: GH Document 61 Filed 04/05/07 Page 22 of 41°"

er,

Job # Pe Lie AS pen,

 

 

Mare than a copy service..... <4
400 Capitol Mall * Suite 690 * Sacramento ¢ California * 95814 Account Manager.
Tel: (916) 444-1414 Fax: (916) 444-1011 ;
e-mail: denecochea@aoj.com / Written By:

       
    

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Order Date: om A fi Due: oi dé 7. @ am/ pm/ RUSH
4 a a 4 “
Requested by: =. ci HG ( A mee a Tel # “fF “ ZL G 4 Ly a J
f i
Firm Name: — # of Originals
Address: 2 fe 7 CA Tha. oT! AIK wd
# of Copies
(total sets} o.,
“FG fif3 2D ee
Client Matter # - 2 é jf Ko oni i c? | . Bil To: oe a
(Add 1 Billing info) ™, QL Ptr. J ANS cp Te
a vate y. (ed. Mes bi EAE eo,
os 4
JobGrade: A BC DE Quote: $ C

 

 

COPY INSTRUCTIONS

 

 

 

 

 

 

 

 

 

 

 

 

 

De We Label/Copy ?
[__] Copy As Original (Size for Size ) Y/N
[_] Tagged “Originals: Copy Only [J] L_] File Folder Labels
[_] Single Sided Copy (1:1 / 2:1) [I] [2] Redweld Labels
["] Double Sided Copy (2:2 / 1:2) [] C2] Post-it Notes (R&R)
[] Alssx1l [7] [7] Flags (R&R)
[] Color Originals) BAW or COLOR [] [] Index Tabs (Match / Copy)
[_] RIP from Disk / Download & RIP from E-Mail C7] £71 Spines
[7] Reduce/Enlarge to: B/W or Color [—] £7) Slip Sheets
[--] Oversize Copies - B/W or Color — Fold or Roll [—] (-) Standard Language
[""] Stock: [7] [[7) Blank Index Tabs
[7] Scan Does to CD - PDF / TIF / JPEG Coo Covers
FINISHING / BATES NUMBERING / OTHER SERVICES
Originals: Copies:
[__] Re-Bind the same as prior to copying [] Bind same as Originals - Collate or Group
[_] Staple [] Staple
[] Clip [] Clip
[_] Rubber Band [-] Rubber Band
[_] Drill: 2 Hole or 3 Hole [~~] Drill: 2 Hole or 3 Hole
[] GBC Spiral or VELO or ACCO [-] GBC Spiralor VELO or ACCO
[.] Foam Core Mount / Laminate / Pad [--] Foam Core Mount / Laminate / Pad
[| Bates Numbering - Originals [_] Bates Numbering - Copies
Starting No.: Starting No.:
SPECIAL INSTRUCTIONS: CD / DISC /AUDIO / VIDEO - DUPLICATION:

Audio Cassette: 60 min / 90 min

Nidco Duplication: VHS /8mm/ yHSC |
PN to HAE Stay CR

 

a Convert from (
Burn CD / Copy Dise to Dise - cD - Zip

 

na a

 
 

 

Legal Services, Inc. FED Tax# XX-XXXXXXX

. Please Remit Payment’ - 325 South Mapie Avenue
C. OMP ‘ Torrance, CA 90503
See 0 a ¢ Filed 04/05/CFAx (20a 369BHOt B88) 426-6739
bask nWOTCE

 

 

INVOICE NUMBER
027613

 

 

 

 

 

 

BILL TO: PSWD 001996 ON RECEIPT

 

 

 

REQUESTED BY: PSWD 001996

PORTER, SCOTT, WHEIBERG & DELEH PORTER, SCOTT, WEIBERG & DELEH
350 UNIVERSITY AVENUE 350 UNIVERSITY AVENUE

SUITE 200 SUITE 200

SACRAMENTO CA 95825 SACRAMENTO CA 95825

— . ATTENTION: SANDY CHAPMAN
ADJUSTER: " i@rr @mic a Been CAsoid f

CLAIM #:
ENSURED: Date of Losa:

CASE TITLE: PEOPLE V SALVATTO COURT: SOLANO SUPERIOR COURT
CASE #: VCR165245 Wot 2] VALLEJO-BENICIA JUDI pxst

CLIENT FILE NUMBER: SALVATTO V CITY OF VALLEJ

 

SERVICH INFORMATION porting

 

 
   

PARTY TO SERVE: SOLANO COUNTY SUPERIOR COURT SERVED TO:

ADDRESS: UNKNOWN

 

 

 

 

_ REPORT

 

i TO PAY
] Office Expense
(Charge File

   

 

BILLING INFORMATION

 

 

10-DAY -- COURT RESEARCH 45.00
COURT FEES CHK # 4609795 08/24/04 47.00
WITNESS FEE/FILING FEE ADVANCE - 10% $5.00 MIN. 5.00
COURT RESEARCH @$40.00 AN HOUR 20.00
OUT OF AREA - SOLANO COUNTY 20.00
POSTAGE 5.00

BILLING DATE: 08/26/04 TOTAL AMOUNT DUE >>>> 142.00

 

Statement.

When paying by involce, please indicate invoice number. If statement client - this invoice wili appear on your monthiy

 

THANK YOU FOR USING COMPEX SPECIAL SERVICES.

 

 

 

 

 
    

AE UREN

 

More than @ copy service.....

400 Capitol Mall, Suite 690
Sacramento, CA 95814

Tel (916) 444-1414

Fax (916) 444-1011

JUN 27 AE

PORTER SCON,

INVOICE

S-GGH DOCUPRECR OA y Fyred 04/05/07 Page 24 of 41

 

DATE INVOICE #

 

 

 

6/23/2005 29590

 

WEIBERG & DELEHANT

 

BILL TO

YOUR BILLING REFERENCE

 

Porter Scott Wieberg & Delehant
350 University Ave., Suite 200
Sacramento, CA. 95825

 

 

 

0768-0021

Salvatto v. Ci Vallejo

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Attn: Sandy Chapman av
TERMS DUE DATE DELIVERY DATE
net 15 7/8/2005 6/23/2005
QUANTITY DESCRIPTION RATE AMOUNT
3| Audio cassette tape duplication 10.00 30.00T
CA Sales Tax 7.75% 2.33
OK TO PAY
[J Office Expense
Charge File
To Co. To Pay
BY wife
Thank youl for Yr business, Total $32.33

 

 

Federal Tax ID No, XX-XXXXXXX Piease Reference invoice No. with Payment

 

 

 

 
De Saiichew

More than a copy sereice.....

 

400 Capitol Mall * Suite 690 * Sacramento * California * 95814

Tel: (916) 444-1414 Fax: (916) 444-1011
e-mail: denecochca@aol com

 

 

ey,

NU
Account Manager:
Written By: .

 

      
 

    

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Order Date: [ej <> ae Due: ite GSE 2S @ ant pee
Requested by: 7 aud éd i Hap $F a Tel # “} LZ G- f | Ze ix De 4
Firm Name: GAL He LAL # of Originals
Address: | # of C
OF LOPES
Got ee) . ae, C i fou. “
"ST 6A ed é
Client Matter # at Tle Og! : Bill To: ee Oe a
(Addl Billing Info) <"~ fhe }
oak vat i Vd as (ase
JobGrade: A BC DE Quote: $ z
COPY INSTRUCTIONS
Do We Label/Copy ?
[| Copy As Original (Size for Size ) YON
[_] Tagged Originals: Copy Only: [-} [] File Folder Labels
[__] Single Sided Copy (1:1 / 2:1) [—] £2] Redweld Labels
[] Double Sided Copy (2:2 / 1:2) [~] £2) Post-it Notes (R&R)
[] AH85x11 [| [2] Flags (R&R)
[__] Color Originals: B/W or COLOR [-_] [7] Index Tabs (Match / Copy)
[__] RIP from Disk / Download & RIP from E-Mail [~] ££) Spines
[| Reduce/Enlarge to: B/W or Color [-] [-] Slip Sheets
{| Oversize Copies - B/W or Color — Fold or Roll +] (=) Standard Language
[| Stock: . [7] [7] Blank Index Tabs
(] Scan Docs to CD-PDF/TIF/IPEG C7) Covers
FINISHING 7BATES NUMBERING / OTHER SERVICES
Originals: Copies:
[] Staple ‘ i_| Staple
[] Clip \ [7 Clip
[__] Rubber Band NN fF] Rubber Band
[-] Drill: 2 Hole or 3 Hole NS [|] Drill: 2 Hole or 3 Hole
[] GBC Spiral or VELO or ACCO NN [] GBC Spiralor VELO or ACCO
[=] Foam Core Mount / Laminate /Pad [_] Foam Core Mount / Laminate / Pad
[] Bates Numbering - Originals a [7] Bates Numbering - Copies
Starting No.: ~ ‘, Starting No .
SPECIAL INSTRUCTIONS: ~  CD/ DISC /AUDIO / VIDEO = DUPLICATION:

 

a en

(anf Se = Audio Cassette: 60 mifi / 90 min

Video Duplication: VHS / 8mm / VHS-C

 

Convert from to
Burn CD / Copy Disc to Dise - CD - Zip

 

OOM

 

   
Case 2:04-cv-00163-WBS;GGH PO OECE tv VED 04/05/07 Page INVOICE

De. SY COORCH In .

 

 

 

More than a copy service..... wo " 2 2005 DATE INVOICE #

 

 

 

400 Capitol Mall, Suite 690 welgeke & SELEHANT 10/31/2005 31183

 

 

Sacramento, CA 95814
Te} (916) 444-1414
Fax (916) 444-1011

BILL TO a a YOUR BILLING REFERENCE
Porter Scott Wieberg & Deleh By) aN 7 / 0768-0021 vas |
MA i | Salvatto v. Ci Vallejo

 

 

  
  

350 University Ave., Suite 200
Sacramento, CA. 95825

Attn: Sandra Chapman

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
 

 

 

 

TERMS DUE DATE DELIVERY DATE
net 18 11/45/2005 10/26/2005
QUANTITY DESCRIPTION RATE AMOUNT
2| Audio cassette tape duplication 10.00 20.00T
CA Sales Tax 7.75% 1.56)
as, 7O PAY
Mi Office Expense
A Charge File
ci Te Cg-go Pay
By hn
Lhanh yee fer YOU busines, Total $21.55

 

 

 

 

Federal Tax ID No, XX-XXXXXXX Please Reference Invoice No. with Payment

 

 
Ne Noo OL |

 

 

FGGH Document 61 Filed o4/osr67, Page FOP AL,
ob wo pb Ce ™

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

“| ~ .
a
Ya enn nn
More than a copy service..... ” ™
400 Capitol Mall ¢ Suite 690 * Sacramento * California * 95814 Account Manager:
Tel: (916) 444-1414 Fax: (916) 444-101] . Ah Bb.
e-mail: denccochca@acl.com Written By: Mieke
Order Date: A fe fe “Due ee i @ am/ pm / RUSH
Requested by: ih 7 é [i gt FR BO. Tel 4 of oe
Firm Name: ee aes # of Originals
Address:
# of Copies
(total sects) Ee
~] oN Ae é £y . é / ‘ a oe
Client Matter # - / (. fe : tad eee f a Bill To: fore a on | CoN ey
(Add 1 Billing Info) ot beadh, vu la Weabbhew
JobGrade: A BC DE Quote: $
COPY INSTRUCTIONS
; Do We Luabel/Copy ?
{__] Copy As Original (Size for Size ) Y / N
{| Tagged Originals: Copy Only [J £2) File Folder Labels
[__] Single Sided Copy (1:1 / 2:1) [__] [] Redweld Labels
[“~] Double Sided Copy (2:2/ 1:2) [] [) Post-it Notes (R&R)
[] AUS8Sx ll [] C] Flags (R&R)
[|]. Color Originals: B/W or COLOR [—] [-] Index Tabs (Match / Copy)
[_] RIP from Disk / Download & RIP from E-Mail -|{] C2] Spines
[_] Reduce/Enlarge to: B/W or Color , [] EJ Shp Sheets
[_] Oversize Copies - B/W or Color — Fold or Roll a Standard Language
[_] Stock: [_] [7] Blank Index Tabs
[] Scan Docs to CD - PDF / TIF / JPEG Co Cy Covers
FINISHING / BATES NUMBERING / OTHER SERVICES
Originals: Copies: .
i] Re-Bind the same as prior to copying | Bind Same as Originals - Collate or Group
[7] Staple  ¢ [] Staple
[~] Clip , fe ,L_] Clip
[—] Rubber Band foe fe ~ [=] Rubber Band
[] Drill: 2 Hole or 3 Hole ew gh 4] Drill: 2 Hole or 3 Hole
["] GBC Spiral or VELO or ACCO [] GBC Spiral or VELO or ACCO
[| Foam Core Mount / Laminate / Pad [_} Foam Core Mount / Laminate / Pad
{__] Bates Numbering - Originals “a [7] Bates Numbering - Copies

Starting No.:

 

co

SPECIAL INSTRUCTIONS:

Starting No.:

__ €D/ DISC /AUDIO / VIDEO - DUPLICATION:
Ly" Audio Cassette; 60 min / 90 min

 

ot,
ws

 

7
we

oo

aes

voy é i f f AS fi f

 

ff

 

{[] Video Duplication: VHS / 8mm / VHS-C
a Bum CD / Copy Dise to Dise - CD - Zip

 

co ue “ VES
em’ f va iv A i ‘i J hf / [0
De EE 04 cv G0 IS8-WBS-GGH Document 6hf FHEG\pRIPp/07 Page odNY CE

 

 

 

 

 

 

 

 

    

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

PROFESSIONALCOPYE PENT SERVICES AUG 1 7 2006 DATE INVOICE #
400 Capitol Mall, Suite 690 PORTER SCOTT 8/15/2006 34579
Sacramento, CA 95814 WEIBERG & DELEMANT
Tel (916) 444-1414
Fax (916) 444-1011
BILL TO LYOUR BILLING REFERENCE
Porter Scott Wieberg & Delehant 0768- .
350 University Ave., Suite 200 Salvatto v. City of Vallejo
Sacramento, CA. 95825 LS | | a
Attn: Sandy Chapman OCT 19 2006
By
TERMS DUE DATE DELIVERY DATE
net 15 8/30/2006 8/15/2006
QUANTITY DESCRIPTION RATE _ AMOUNT
2,022 | Litigation Copies 0.42 242.64T
22 | Pre-printed Tabs 0.30 6.60T
18| Custom Tabs OK TO PAY 0.75 13.507
6| Audio cassette tape duplication “1 Office Expense 10.00 60,00T
CA Sales Tax Charge File 7.75% 25.01
To Go. To Pay
B
It a fleasure working tenth your, Total $347.75

 

 

Federal Tax ID No. XX-XXXXXXX

 

Please Reference Invoice No. with Payment

 

 

 
Daie: 03/27/2007 r ‘tail Cost Transaction File List
PORTER, SCOTT, WEIBERG & DELEHANT
Case 2:04-cv-00163-WBS-GGH Document 61 Filed 04/05/07 Page 29 of 41
Trans H
Client Date Tmkr P Ted Rate Amount

Tcode 856 PHOTOCOPYING CHARGES @.20 PER PAGE

 

 

768.0024 10/31/2005 65 A 856 0.200 7.80 PHOTOCOPY CHARGES @ .20 PER PAGE - 39 (PLEADING) 10/31/2005

CITY OF VALLEJO
SALVATTO, LATEACHEEAH VY, COUNTY OF SOLANO

sam nae eee eee

768.0021 10/27/2005 65 A 856 0.200, 13.20 PHOTOCOPY CHARGES @: .20 PER PAGE - 66 (EXHIBITS) 10/27/2005
CITY OF VALLEJO
SALVATTO, LATEACHEEAH V. COUNTY OF SOLANO

768.0021 10/27/2005 65 A 856 0.200 0.60 PHOTOCOPY CHARGES @ .20 PER PAGE - 3 (EXHIBITS) 10/27/2005
CITY OF VALLEJO
SALVATTO, LATEACHEEAH V. COUNTY OF SOLANO

768.0021 10/27/2005 65 A 855 0.200 2.80 PHOTOCOPY CHARGES @ .20 PER PAGE - 14 (EXHIBITS) 10/27/2005
CITY OF VALLEJO
SALVATTO, LATEACHEEAH V, COUNTY OF SOLANO

768.0024 10/31/2005 65 A 856 G.200 32.80 PHOTOCOPY CHARGES @ .20 PER PAGE - 164 (PLEADING}
10/31/2003
CITY OF VALLEJO
SALVATTO, LATEACHEEAH V. COUNTY OF SOLANO

768.0021 10/31/2005 65 A 856 0.200 12.89 PHOTOCOPY CHARGES © .20 PER PAGE - 64 (PLEADING) 10/91/2005
CITY OF VALLEJO
SALVATTO, LATEACHEEAH V, COUNTY OF SOLANO

768.0021 10/31/2005 65 A 856 0.200 20.20 PHOTOCOPY CHARGES @ .20 PER PAGE - 101 (PLEADING)
10/3 1/2005

Page: 10

Ref #

 

ARCH

ARCH

ARCH

ARCH

ARCH

ARCH

ARCH
Date: 03/27/2007

Client

 

Trans

Date Tmkr P Ted

H

 

r ‘ait Cost Transaction File List

PORTER, SCOTT, WEIBERG & DELEHANT
Case 2:04-cv-00163-WBS-GGH Document 61 Filed 04/05/07 Page 30 of 41

Rate

Amount

Tcode 856 PHOTOCOPYING CHARGES @.20 PER PAGE

768.0021

768.0021

768.0024

12/4Y2006

12/13/2006

12/14/2006

65 A 856

65 A 855

65 A 856

0.260

0.200

0.206

SALVATTO, LATEACHEEAH V. COUNTY OF SOLANO

1.40 PHOTOCOPY CHARGES @ .20 PER PAGE - 7 (EXHIBITS) 12/13/2006
CITY OF VALLEJO
SALVATTO, LATEACHEEAR V. COUNTY OF SOLANO

16.40 PHOTOCOPY CHARGES @ .20 PER PAGE - 82 (PLEADING) 12/13/2006
CITY OF VALLEJO
SALVATTO, LATEACHEEAH V. COUNTY OF SOLANO

17.20 PHOTOCOPY CHARGES @ .20 PER PAGE - 86 (PLEADING) 12/14/2006
CITY OF VALLEJO
SALVATTO, LATEACHEEAH V. COUNTY OF SOLAN

Page: 744

Ref #

 

ARCH

' ARCH

ARCH

 

 

768-6024—

768.0024

768.0024

768.0021

A044 TOO re
a oa

O1/22/2007

01/25/2007

01/30/2007

Sewuil po
rr

65 A 856

65 A 858

55 A 856

UG. fu

0.200

0.200

6.260

FAO PHOTOCOPY CHARGES @ 20 PER PAGE = 47 (MISCELEANEOUS)
APTA
roth Hor vA LEdO
SALMAT TO CAT EACHEEAAT COUNTY OF SOLANO
1.46 PHOTOCOPY CHARGES @ .20 PER PAGE - 7 (DEPOSITION
TRANSCRIPTS) 01/22/2007
CITY OF VALLEJO
SALVATTO, LATEACHEEAH V. COUNTY OF SOLANO
2.49 PHOTOCOPY CHARGES @ .20 PER PAGE - 12 (DEPOSITION
TRANSCRIPTS) 01/25/2007
CITY OF VALLEJO
SALVATTO, LATEACHEEAH V. COUNTY OF SOLANQ

Le ee Pe me ee mg:

19.40 PHOTOCOPY CHARGES @ .20 PER PAGE - $7 (EXHIBITS) 01/30/2007
CITY OF VALLEJO
SALVATTO, LATEACHEEAH V. COUNTY OF SOLANO

BRC ES

ARCH

ARCH

ARCH
Date: 03/27/2007 r ‘ail Cost Transaction File List
PORTER, SCOTT, WEIBERG & DELEHANT
Case 2:04-cv-00163-WBS-GGH Document 61 Filed 04/05/07 Page 31 of 41

 

 

Trans H
Client Date Tmkr P Ted Rate Amount
Tcode 856 PHOTOCOPYING CHARGES @.20 20 PER PAGE

768.0021 02/01/2007 65 P 856 0.200 12.00 PHOTOCOPY CHARGES @ .20 PER PAGE - 60 (EXHIBITS) 02/01/2007

CITY OF VALLEJO
’ SALVATTO, LATEACHEEAH V. COUNTY OF SOLANO

768.0021 02/02/2007 65 P 856 0.280 3.86 PHOTOCOPY CHARGES @ .20 PER PAGE - 19 (EXHIBITS) 02/02/2007
CITY OF VALLEJO
SALVATTO, LATEACHEEAR V. COUNTY OF SOLANOD

768.0021 o2/02/2007 65 P 856 0.200 0.40 PHOTOCOPY CHARGES @ .20 PER PAGE - 2 (EXHIBITS) 02/02/2007
CITY OF VALLEJO
SALVATTO, LATEACHEEAH V. COUNTY OF SOLANO

768.0021  .02/02/2007 65 P 856 0.200 35.60 PHOTOCOPY CHARGES @ .20 PER PAGE - 178 (MISCELLANEOUS)

02/02/2007

CITY OF VALLEJO
SALVATTO, LATEACHEEAH V. COUNTY OF SOLANO

768.0021 02/02/2007 65 P 856 0.260 7.00 PHOTOCOPY CHARGES @ .20 PER PAGE - 5 (MISCELLANEOUS)
2/02/2007
CITY OF VALLEJO
SALVATTO, LATEACHEEAH V. COUNTY OF SOLANO

768.0024 63/07/2007 65 P 856 0.200 16.609 PHOTOCOPY CHARGES @ .20 PER PAGE - &3 {PLEADING} 03/07/2007

CITY OF VALLEJO
SALVATTO, LATEACHEEAH V. COUNTY OF SOLANO

 

Page: 15

Ref #

 

179

183

484

185

186

212
Date: 03/27/2007 " ‘tail Cost Transaction File List
PORTER, SCOTT, WEIBERG & DELEHANT
Case 2:04- cv- 00163-WBS-GGH Document 61 Filed 04/05/07 Page 32 of 41

 

 

Trans
Client Date Tmkr P Ted Rate Amount
Tcode 792 MILEAGE @ .50 PER MILE

768.0021 42/07/2004 47 A 792 50.40 126 MILES @ .40 PER MILE TO/FROM VALLEJO ON 12/07/04 FOR
DEPOSITION
CITY OF VALLEJO
SALVATTO, LATEACHEEAH V. COUNTY OF SOLANO

768,002 02/28/2007 47 P 792 6.500 50.00 100 MILES @ .86 PER MILE TO/FROM STOCKTON ON 02/28/07 FOR
DEPOSITION
CITY OF VALLEJO

SALVATTO, LATEACHEEAH V. COUNTY OF SOLANO

Page: 6

Ref #

 

ARCH

aia
Case 2:04-cv-00163-WBS-GGH Document 61 Filed 04/05/07 Page 33 of 41

  

A bebeseseeetes Eat In Prererattetieee?

Pui a) 5 Fresh Mexican Gri]

iP lara Ur, #]the.

 

bana pin ed a

ill
4

14 ' 58
56
‘4
* aU

Lat |
oh ot
Pashler. waa l Reyister:3

le/7/04 1:54:28 PM

Urder #: 573455
THANK YOU!

le value your comments! Call us at...
1 €8003 354-4199

EXPENSE VOUCHER

FILE Se vep tt

Date Have! To

infafod V8 i

os [h.
mG

6-4

(2/7 _|

 

   
  

 

 

 

 

 

 

 

Lodging Pee ea eR eee eee eee eee
Mis. a ccveueeeeeet ey ccyeceeevucteeeterneees $
Bocce cuceuccuceucecuceues $e
TOTAL §

 

REMARKS:

Dorit Pe De é Mord MET

 

LL.
From: Date Paid: / OD

C) Charge File — a
a Approved. Check No.

CU) Pay Aty a

C1 Charge Gliice

 

 
Case 2:04-cv-00163-WBS-GGH Document 61 Filed 04/05/07 Page 34 of 41

 

EXPENSE VOUCHER
FILE Se Se! fo 7% ¢ Ci wT V4 UG wo, {© Te%- 2]
Date Travel To Via Return

 

 

 

 

Yep Sheets Dace Yes

 

 

 

 

Meals .....0..0.00.: CG fs 7 467
LOQING ..0. 0c ccccac ers eeseetse stress $
MISC. oo. ccc cee cee trtetennnaas $
Entertainment rr sspeci) bee eceeaueeneneenes $

REMARKS:

Sp Lil, reftet ,
From: Date Paid: A Fp 7

Rb Charge File Tilo.
Approved Check No:
["] Pay Ally ae

 

E'] Charge Office

 

 

 

 

 

 
Case 2:04-cv-00163-WBS-GGH Document 61 Filed 04/05/07 Page 35 of 41

EXPENSE VOUCHER

” a for yer
FILE (alive (? Jit Mvalte > vo lobo L(
f

 

 

 

 

 

 

 

 

 

 

Date Travel To Via For Return
Luly fons Lack Ryo |?!
t of V Y
apiece, eed CON ee 525480 ty
Meals ..00........ (<<) lesecctevssseveceese g (%. 2A

 

a on (Hitt bot- /

 

[1] Charge Office From: Date Paid: Ho7
LL] Charge Fite [5. 26

Approved As Check No:
[iPayAlly

 

 

 

 

 

 
Case 2:04-cv-00163-WBS-GGH Document 61 Filed 04/05/07 Page 36 of 41

neo caplet ake Pret 7 I
Pir poecae kh

hod, sherk 7 RRKEXARKKKARGO? 1
atu bytes _ ¥iad

eoitiew calcu Code : Gato

calfier . gi Geog # 3a6i4
fate . ¥4 NOPLATE
bet ag Ug PUOP Lape 35

noob Un 2'/O7 Lane 58

fo

bet t2 uu

12 Ott

ae

ANGONE Thre
wiv

| PeER G4 S&u

ade

0G
2.00
0.00

Go Wd

LRH OF

wh dre tr 49
PQ

CHANGE CALL

FiO @7 CT ¢ ioe

Paaes | ne duced

bid chart Cafeuiatron Detal le ait
i Beats) fei? 00 = $12.00

Sarulslion Details #4#4

ved Emu

444 Thank You #4#

 

KMSHaost
CPK ASAP TI
ios Angeies Int’ ] Airport

1339 Kingkan

CHK 3467 FEBZI° OG? 3:05PM GST 1

nt Piiza .
oz SODA F 2.

oo
can oo
Ao oo

Subtotal 14
Tax QO.
Amt Paid 12.3
XXRMMNMEM ERK BOT | KX RK
VISA AD 4% 12,37

0 6.9
oO

N

   

 

| SuperShuttle’

TRIP RECORD ;

 

 

 

 

H g ' wo ea
PROB bp ey PP a Be
Pass. Name wh PY UR Gt

 

Company

 

AddressiBldg. EE
i . + ws
oad?

city if ‘

   

ContiAcct# fw

ne a ae ae i ALA
foo. fee GE i poses
cf & fd pe ty

From: | f: 4 Tos kee 2

r~Method af Payment

 

# Pass,
CREDIT CARD

 

 

aot TES
} Cy

Fare$ pi DIRECT BILL

 

 

Tip $7 CASH RECEIPT

 

 

Total ¢7) 00" PREPAID

i

 

 

 

 

 

 

a =. 5
by f
f

ofa Date fa" fe fe

 

Driver No. _! &

S “Customer Signatire here authorizes Direct Bill er Credit Card Sharge

WHITE: Supe rShuttie YELLOW: SuperShuttle PINK: Customer Copy

1 hata inn GEA can hatte eee wenF atta The ete ae ‘aie ee ase te
southwest Airlines Receipt and "inerary Page 1 of 2
Case 2:04-cv-00163-WBS-GGH Document 61 Filed 04/05/07 Page 37 of 41

John R. Whitefleet

 

From: Southwest Airlines [SouthwestAirlines@mail.southwest.com]
Sent: Tuesday, February 20, 2007 11:38 AM

To: John R. Whitefleet

Subject: Ticketless Confirmation - WHITEFLEET/JOHN - CX6X5V

 

 

   

 

 

 

SOUTHWEST.COM
Receipt and Itinerary as of 02/20/07 1:38 PM
Confirmation Number Check fa.
CX6X5V ‘ AE
. IN ADVANCE:
Confirmation Date: 02/20/07 Check In Online

Received: JOHN WHI

Passenger Information

Passenger Name Ticket# Account Number
WHITEFLEET/JOHN 526-2372819156-5 00000206453763
Itinerary:
Date Flight Routing Details

Wed Feb 21 2717 Depart SACRAMENTO CA (SMP) at 7:10 AM
Arrive in LOS ANGELES INTL (LAX) at 8:30 AM

Wed Feb 21 602 Depart LOS ANGELES INTL (LAX) at 4:35 PM
Arrive in SACRAMENTO CA (SMF) at 5:50 PM

‘Cost and Payment Summary

Air $ 217.68
Tax $ 23.12
PFC Fee $ 9.00

Security Fee $ 5.00
Total Payment: $254.80

Current payment(s)
02/20/07 VISA xxxxxxxxxxxx6071 Ref 526-2372819156-5 $254.80

Fare Rule(s)
Valid only on Southwest Airlines. All travel involving funds from this Confirm no. must be
completed by 02/20/08. Any change to this itinerary may result in a fare increase.

Fare Caiculation:

ADT- 1 SMFWNLAX YL 117,00 LAXWNSMF YL 117.00 $234.00 ZP6.80 XFSMF4.50 LAX4.50
AYSMF2.50 LAX2.50 $254.80

2/20/2007
OSE 2:04-cv-00163-WBS-GGH Document 61 Filed 04/05/07 Page 38 of 41
John R. Whitefleet

From: info@airportshuttles.com

Sent: Tuesday, February 20, 2007 11:55 AM

To: Jonn R. Whitefleet

Subject: AirportShuttles.com Reservation 7344764, 7344765

Driver will require either the voucher or the confirmation number below for pick up.

Travel Confirmation: 02/21/2007: 7344765
02/21/2007: 7344764

Itinerary #: AS2147494213

To print your voucher, review the cancellation policy, or view vehicle information, please
click on the following Link:

http: //www.airportshuttles.com/cgi-bin/rates.pl?_cgifunction=getresé&res=. $05%$CF$113CE%2A%
ESsPrcogo7M

Thank you for booking your transportation with AirportShuttles.com. The information below
contains the details of your itinerary. Please review it to make sure all information is
accurate,

Transportation Reserved: Your credit card has been charged in full. If your plans change,
you must cancel or change your transportation reservation in advance in accordance with
beth AirportShuttles.com and transportation provider cancellation policies to avoid a no-
show charge. Please refer te the conditions and cancellation policy Listed in the link
above. You may make changes by calling 954-742-0947 between the hours of Sam and Som EST
Monday through Friday. If you need to cancel or make changes outside of these hours please
refer to the dispatch number below.

Reservation Summary:
Name: johnw whitefleet
E-mail: jwhitefleet@pswdlaw.com

Contact phone: 93168327558

Reservation Summary:

Company: SuperShuttle

Reservation rate: 58.00

Reserved under the name: jchnw whitefleet
Pick up location: AIRPORT: LAX FLIGHT: WN 2717

Drop off location: Long Beach Convention Center, 300 EF Ocean Bivd LONG BEACH CA, 90802
1
Pick up dae ase 204 cv, 00163 WBS GGH Document 61 Filed 04/05/07 Page 39 of 41

ime: 0
Returning date & time (if round trip}: 02/21/2007 1:55pm-2:10pm FLIGHT: WN 602
Vehicle type: Share Ride Van
Number of passengers: 1 Adults / 0 Child
Taxes & service fees: $0.06
Gratuity: $0.00 (if no gratuity is added please don't forget to tip the driver}

Total amount charged to credit card: $58.00

Wheelchair Accessible: No

Additional Information: Number of bags:
Major cross streets:
If pick-up from airport, please provide originating city: Sacramento

To reach dispatch or if you need te cancel or modify a reservation after hours call:

Company: SuperShuttle ~- Dispatch Contact: 800-258-3826 Directions: After collecting
Luggage, proceed to the outer curb under the Orange sign that says "Van Shared Ride", look
for the SuperShuttle curb coordinator.

Transportation Summary:

if you have questions about your reservation, you can call us at 954+742+0947 or email us
at info@airportshuttles.com - We'll respond within 24 hours. Our phone support is
available Monday through Friday 9am to 5pm EST. For after hour assistance please refer to
the dispatch number listed above.

Unless specified otherwise, rates are quoted in US dollars. Even though most providers
include incidental service fees in the reservation, the price shown above MAY NOT include
any applicable incidental service fees {such as tolls, parking fees, airport tax,
destination changes and mini bar snacks etc.} The transportation provider will assess
these fees, charges, and surcharges upon completion of your trip.

Thank you for choosing AirportShuttlies.com
AirportShuttles.com Confirmat’ Page i of 2

Case 2:04-cv-00163-WBS-GGH Document 61 Filed 04/05/07 Page 40 of 41
i Be hee gb Od on, ’ Sign up for our monthly newslette
Ai rport A uttles COM bad and find the latest in travel new
Any vehicle at anytime. Guaranteed ™

HOME « ABOUTUS «© PRIVACYPOUCY « F « CONTACT US aE Babel ese) AIRFARE PMN ta See pata bebe 2g

The driver will require this voucher or the confirmation number below for pick up.
You can print this page by clicking here.

Thank you for booking your transportation with AirportShuttles.com. The information below contains
the details of your itinerary. Please review this voucher to make sure all the information is accurate.

Travel Confirmation: 02/21/2007: 7344765 Itinerary #: AS2147494213
02/21/2007: 7344764

 

Transportation Reserved: Your credit card has been charged in full. {f your plans change, you
must cancel or change your transportation reservation in advance in accordance with both
AirportShuttles.com and transportation provider cancellation policies to avoid a no-show charge.
Please refer to the conditions and cancellation policy listed below. You may make changes by
calling 954-742-0947 between the hours of 9am and 5pm EST Monday through Friday. If you

need to cancel or make changes outside of these hours please refer to the dispatch number
below.

Reservation Summary:

Main Contact:

Name: johnw whitefleet

Email: jwhitefleet@pswdlaw.com
Contact phone: 9168327558

Reservation Summary:

Company: SuperShuttle

Reservation rate: 58.00

Reserved under the name: johnw whitefleet

Pick up location: AIRPORT: LAX FLIGHT: WN 2717

Drop off location: Long Beach Convention Center, 300 E Ocean Blvd LONG BEACH CA, 90802
Pick up date & time: 02/21/2007 08:30am

Returning date & time (if round trip): 02/21/2007 1:55pm-2:10pm FLIGHT: WN 602

Vehicle type: Share Ride Van

Number of passengers: 1 Adult(s} / 0 Under 3 years old

Taxes & service fees 0.00
Gratuity (if no gratuity is added please don't forget to tip the driver) 0.00
Total amount charged to credit card $58.00

Wheeichair Accessible: No

Additional information: Number of bags:
Major cross streets:
if pick-up from airport, please provide originating city: Sacramento

To reach dispatch or if you need to cancel or modify a reservation after hours call:
Company: SuperShuttle - Dispatch Contact: 800-258-3826 Directions: After collecting luggage,
proceed to the outer curb under the Orange sign that says "Van Shared Ride", look for the
SuperShuttle curb coordinator.

 

 

http://www.airportshuttles.com/cgi-bin/rates.pl?_cgifunction=getres&res=.%05%CF%11.... 2/20/2007
oO * SOD

10
a
12
13
14
15
16
17
18
19
20
2]
22
23
24
25
26
27

LAW GFFICES OF

PORTER, SCOTT, wa 8
WEIBERG & DELEHA!
A PROFESSIONAL CORPORATION
130 UNIVERSITY AVE, SUITE 200
0. BON 75428
SACRAMENTO, CA 95865
(P16) 929-487

www prwdlaw. Conl

 

ase 2:04-cv-00163-WBS-GGH Document 61 Filed 04/05/07 Page 41 of 41

Case Name: Salvatto, et al. v. County of Solano, et al.
Case No.: USDC EDCA No. CIV 8-04-0163 WBS GGH

 

DECLARATION OF SERVICE

lam acitizen of the United States and employed in Sacramento County, California; Iam over
the age of 18 years and not a party to the within action; my business address is 350 University
Avenue, Suite 200, Sacramento, California 95825.

On the date below I served the attached:
BILL OF COSTS

XX_ BY MAIL: I caused such envelope with postage thereon fully prepaid to be placed in the
United States mail at Sacramento, California.

BY PERSONAL SERVICE: I caused such document to be delivered by hand to the
office of the person(s) listed above.

BY OVERNIGHT DELIVERY: | caused such document to be delivered by overnight
delivery to the office of the person(s) listed above.

BY FACSIMILE: I caused such document to be transmitted by facsimile machine to the
office of the person(s) listed above.

addressed as follows:

Jeffrey Fletcher, Esq. SBN# 142464
Attorney at Law

U.S. Bank Plaza

980 Ninth Street, 16h Floor
Sacramento, California 95814

Frederick G. Soley

City Attorney

Alesia Jones-Martin

Assistant City Attorney

CITY OF VALLEJO

555 Santa Clara Street

P.O. Box 3068

Vallejo, California 94590-5934

1 declare under penalty of perjury that the foregoing is true and correct and was executed

on April 5, 2007, in Sacramento, California. \

R OYA
thia Romero

00260243. WPD

 
